      Case 1:19-cr-00374-JMF      Document 141-5      Filed 08/12/21    Page 1 of 2




                                                       July 6, 2021

BY EMAIL TO CHAMBERS
EX PARTE & REQUEST TO FILE UNDER SEAL

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:    United States v. Michael Avenatti
       19 Cr. 374 (JMF)

Dear Judge Furman:

       Enclosed please find a sworn affirmation from Michael Avenatti confirming that
there have been no material changes to his financial condition bearing on his eligibility
for court-appointed counsel. Because Mr. Avenatti’s underlying CJA 23 Form and
accompanying affidavit remain under seal, and for the reasons set forth in our motion
to keep Mr. Avenatti’s sworn statements about his finances sealed, we respectfully
submit this letter and its enclosure ex parte and request leave to file both under seal.

                                                       Respectfully Submitted,

                                                                    /s/
                                                       Robert M. Baum
                                                       Tamara L. Giwa
                                                       Andrew J. Dalack
                                                       Assistant Federal Defenders

                                                       Counsel for Michael Avenatti
    Case 1:19-cr-00374-JMF   Document 141-5   Filed 08/12/21   Page 2 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X
UNITED STATES OF AMERICA      :

           - V -                  :           EX PARTE AFFIRMATION
                                              19 Cr. 374 (JMF)
MICHAEL AVENATTI,                 :

               Defendant.     :
------------------------------X

     I, Michael Avenatti, hereby affirm under penalty of

perjury, pursuant to 28 U.S.C. § 1746, as follows:

     1.    I am the defendant in the above-captioned case.             I

make this affirmation in compliance with the Court’s directive

dated August 7, 2020 that I inform the Court every four months

of any material changes to my financial condition that could

bear on my eligibility for court-appointed counsel.

     2.    Since the Court granted my request for the appointment

of counsel on August 7, 2020 (based on my sworn financial

statement and accompanying affidavit) there have been no

material changes to my financial condition to the best of my

knowledge.



DATED:     July 6, 2021
           Los Angeles, CA


                                        _________________________
                                        MICHAEL AVENATTI
